        Case:1:19-cr-00060-BLW
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                    UNITED STATES COURT OF APPEALS                          NOV 22 2021

                                                                        MOLLY C. DWYER, CLERK
                            FOR THE NINTH CIRCUIT                         U.S. COURT OF APPEALS




UNITED STATES OF AMERICA,                       No.    20-30178

              Plaintiff-Appellee,               D.C. Nos.
                                                1:19-cr-00060-BLW-1
 v.                                             1:19-cr-00060-BLW
                                                District of Idaho,
SERGIO MIRAMONTES-                              Boise
MALDONADO,

              Defendant-Appellant.              ORDER


      The court is of the unanimous opinion that the facts and legal arguments are

adequately presented in the briefs and record and the decisional process would not

be significantly aided by oral argument. Therefore, this case is submitted on the

briefs and record, without oral argument on December 6, 2021 in Seattle,

Washington. Fed. R. App. P. 34(a)(2).



                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT


                                             By: Omar Cubillos
                                             Deputy Clerk
                                             Ninth Circuit Rule 27-7
